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IN THE UNITED sTATEs DISTRICT cOURT ~~s~--Mrcsc
FOR THE wEsTERN DISTRICT oF TENNESS%EA
WESTERN DIVISION 3 PR?E &H 9:;7

 

CU~HF 3 7 JC.JHO
UNITED sTATEs oF AMERICA ‘“ 9 “r\w §§Lé§§

VS. CR. NO. 04-20049-Ma
TEMEIKA MICKENS,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

Before the court is the April 21, 2005, joint motion of the
parties requesting continuance of the report date set April 21,
2005. The continuance is necessary to allow for additional
preparation in the case.

The Court grants the motion and continues the trial date to
June 6, 2005 with a report date of Tuesday, May 31, 2005, at 2:00
p.m.

The period from April 21, 2005, through June 17, 2005, is
excluded_ under 18 U.S.C. § BlSl(h)(B)(B)(ivJ to allow' defense
Counsel additional time to prepare.

IT IS SO ORDERED this the T\$\_day of April, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE .(ma

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 114 in
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Honorable Samuel Mays
US DISTRICT COURT

